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8                               UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11     RONALD LLOYD AVILES,                       Case No. 8:19-01570 JVS (ADS)

12                               Petitioner,

13                               v.               JUDGMENT

14     ORANGE COUNTY PROBATION
       DEPARTMENT,
15
                                 Respondent.
16

17           Pursuant to the Court’s Order Accepting Report and Recommendation of United

18     States Magistrate Judge and Dismissing Case, IT IS HEREBY ADJUDGED that the

19     above-captioned case is dismissed with prejudice.

20

21
       DATED: April 21, 2021
22                       ____________________________________
                                  THE HONORABLE JAMES V. SELNA
23                                United States District Judge

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